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                    Government
                    Government Exhibit
                               Exhibit 2
                                       2
                         Minor
                         Minor Victim
                               Victim 2
                                      2
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              Royer.) MULY-) etd ile)(-W Ve                               8/14/2021 7:51:50 PM
              Weird     ass mf




                                                                          ¥ Received



   ikr




                                                                          ¥ Received


   my mom    said i should work at hooters lol




                                                                                        7 Sent
              Moyer.) MO l-Y-) et i dale)1 \-W Vs     es                  8/14/2021 8:05:18 PM
              |p at-lele el   (oMal-Ma-s-]| 10




                                                                                        7 Sent
              Royer.) MULY-) etd ile)(-W Vs                               8/14/2021 8:05:25 PM
              Really




                                                                          ¥ Received
                                                               8/14/2021 8:05:46 PM

   yes lol




                                                                                        7 Sent
              Royer.) MULY-) etd ile)(-w Vs                               8/14/2021 8:07:50 PM
              Mo) Tey]




                                                                                        7 Sent
              Moyer.) MO l-Y-) et i dale)1 \-W Vs    ps                   8/14/2021 8:07:58 PM
              But you’re not old enough yet@




                                                    00000255                           GX810-000008
Case 1:23-cr-00172-MSN Document 95-3 Filed 05/09/24 Page 3 of 57 PageID# 987




                                                                         ¥ Received


   don’t you have to be 18




                                                                                        7 Sent
              |oyor-) MO Y-) me   i dale)(-   Ve    ee                    8/14/2021 8:08:12 PM
              Yeah




                                                                         ¥ Received
                                                              8/14/2021 8:08:33 PM

   that’s in like 2 and a half years




                                                                                        7 Sent
              |oyor-) MO Y-) me   i dale)(-   Ve    ee                    8/14/2021 8:09:00 PM
              Well then decide in 2 and a half years




                                                                         ¥ Received




                                                                                        7 Sent
              |oyor-) MO Y-) me   i dale)(-   Ve    ee                    8/14/2021 8:27:12 PM
              There’s better places to work at




                                                                         ¥ Received
                                                              8/14/2021 8:27:32 PM

   why not here




                                                   00000256                            GX810-000009
Case 1:23-cr-00172-MSN Document 95-3 Filed 05/09/24 Page 4 of 57 PageID# 988




                                                                            ¥ Received
   ee                                                            9/6/2021 1:32:33 AM
   and lemme guess you’re too busy to come this weekend cause you probably
   aren’t even in austin




                                                                                            7 Sent
               Local User <IPhone         A2172>                              9/6/2021 1:34:37 AM
               I am in Austin, Just a lot going on here




                                                                                            7 Sent
               Local User <IPhone         A2172>                              9/6/2021 1:34:50 AM
               Whats your address i wanna see how far u are from me




                                                                            ¥ Received
                                                                 9/6/2021   1:35:51 AM

                         im pretty sure




                                                                            ¥ Received


   yeah it’s that




                                                                                            7 Sent
               Local User <IPhone         A2172>                              9/6/2021 1:36:27 AM
               What city




                                                                            ¥ Received


   idk if it’s schertz or cibolo




                                              00000498                                    GX810-000011
Case 1:23-cr-00172-MSN Document 95-3 Filed 05/09/24 Page 5 of 57 PageID# 989




                                                                                      7 Sent
              oor.) MOY-) me             i dale)(-     Ve    eo         9/6/2021 2:38:26 AM
              Alright give me like 30 mins




                                                                       ¥ Received


   so you’re coming tonight?




                                                                                      7 Sent
              |oyor-) MO Y-) me          i dale)(-     Ve    ee         9/6/2021 2:39:40 AM
              I'll let   u know   in a    little bit




                                                                       ¥ Received


   how long is a   little bit




                                                                                      7 Sent
              |oyor-) MO Y-) me          i dale)(-     Ve    ee         9/6/2021 3:21:37 AM
              Im coming




                                                                                      7 Sent
              Local User <IPhone                       A2172>           9/6/2021 3:22:32 AM
              I'll be there by 12 is that cool




                                                                       ¥ Received


   yeah that’s fine




                                                            00000505                GX810-000012
Case 1:23-cr-00172-MSN Document 95-3 Filed 05/09/24 Page 6 of 57 PageID# 990




                                                                               ¥ Received


   yay you're finally coming




                                                                                               7 Sent
              Local User <IPhone          A2172>                                 9/6/2021 3:24:38 AM
              Lol yes just don’t get in trouble




                                                                               ¥ Received
                                                                    9/6/2021   3:24:45 AM

   i won’t




                                                                               ¥ Received
   ee                                                               9/6/2021 3:39:56 AM
   also i’m not putting a bra on so if you can tell im not wearing one don’t say
   anything




                                                                                               7 Sent
              Moyer.) MOLY) eat -)ile)(-w- Uh                                    9/6/2021 3:40:58 AM
              Omw




                                                                                               7 Sent
              |MoYor.) MOLY) et i dale)(- ees                                    9/6/2021 3:41:37 AM
              Haha that’s the first thing im gonna say




                                                                               ¥ Received


   i mean that’s just one less thing to worry about taking off




                                                00000506                                     GX810-000013
Case 1:23-cr-00172-MSN Document 95-3 Filed 05/09/24 Page 7 of 57 PageID# 991




              Moyer.) MO ky-) me    i dale)\- Ve     es                   9/6/2021 3:50:09 AM
              U right




                                                                        ¥ Received
                                                              9/6/2021 3:50:37 AM

   exactly so you won’t be complaining




                                                                        ¥ Received
                                                              9/6/2021 4:05:03 AM

   can you bring some weed




                                                                        ¥ Received
                                                              9/6/2021 4:05:09 AM

   or at least a bong




                                                                                        7 Sent
              Moyer.) MO k-y-) me   i dale)1-6 es                         9/6/2021 4:05:54 AM
              Lol I already left




                                                                        ¥ Received
                                                              9/6/2021 4:06:01 AM

   damn




                                                                                        7 Sent
              Moyer.) MO ky-) me    i dale)1-6 es                         9/6/2021 4:58:10 AM
              10 mind away




                                                                                        7 Sent
              Meyer.) MULY-) met td ale))(-W Vs                           9/6/2021 4:58:19 AM
              Mins*




                                                   00000507                           GX810-000014
Case 1:23-cr-00172-MSN Document 95-3 Filed 05/09/24 Page 8 of 57 PageID# 992




                                                                             ¥ Received


   hold on




                                                                                            7 Sent
              |Moyer.) MO lY-) me   i Jaleo)1-6.         es                   9/6/2021 5:01:22 AM
              AAYZe!




                                                                             ¥ Received

   ee                                                              9/6/2021 §:01:37 AM
   going downstairs




                                                                             ¥ Received
  ee                                                               9/6/2021 5:08:02 AM
   he isn’t barking yet




                                                                                            7 Sent
              Moyer.) MO kY-) me    i dale)\-      Ve     o                   9/6/2021 5:08:29 AM
              He will as soon as u open the door




                                                                             ¥ Received


   he’s knocked out what if i go out the back door




                                                                                            7 Sent
              Moyer.) MO kY-) me    i dale)1-6. Ve eo                         9/6/2021 5:08:52 AM
              Or when     u come    back




                                                        00000508                          GX810-000015
Case 1:23-cr-00172-MSN Document 95-3 Filed 05/09/24 Page 9 of 57 PageID# 993



                                                                                         7 Sent
              Moyer.) MULY-) eat) ile) (-w- es                             9/6/2021 5:08:58 AM
              Ok




                                                                                         7 Sent
              Moyer.) MO l-y-) me   i Jaleo)
                                           1 (- Ve    ps                   9/6/2021 5:09:08 AM
             Just make sure u can go back in




                                                                          ¥ Received


   okay i’m outside




                                                                                         7 Sent
              Local User <IPhone              A2172>                       9/6/2021 5:10:22 AM
              Is everything good?




                                                                          ¥ Received


   yeah he didn’t make a sound




                                                                                         7 Sent
              Local User <IPhone              A2172>                       9/6/2021 5:11:17 AM
             Are u outside




                                                                          ¥ Received
                                                                9/6/2021 5:11:23 AM

   yup




                                                                                         7 Sent
              Local User <IPhone              A2172>                       9/6/2021 5:11:31 AM
              Do u see me




                                                     00000509                          GX810-000016
Case 1:23-cr-00172-MSN Document 95-3 Filed 05/09/24 Page 10 of 57 PageID# 994




    re                                                            sfy2028 Sse a
                                                                            ¥ Received


    no




                                                                                                7 Sent
                  Local User <IPhone              A2172>                      9/6/2021 5:12:10 AM
                  Im   here




                                                                            ¥ Received
                                                                  9/6/2021 5:12:33 AM

    whoops it’s




                                                                            ¥ Received
                                                                  9/6/2021 5:12:38 AM

    not


                                                                            ¥ Received
                                                                  9/6/2021 5:12:41 AM

    i’m sorry




                                                                                                7 Sent
                  Local User <IPhone              A2172>                      9/6/2021 5:13:31 AM
                  Im   here




                                                                                         7 Sent by Siri
                  |oyor-) MO Y-) me   i dale)(-   Ve    ee                    9/6/2021 7:44:41 AM
                  Fuck you fuck you to see now you ruined it




                                                       00000510                                GX810-000017
Case 1:23-cr-00172-MSN Document 95-3 Filed 05/09/24 Page 11 of 57 PageID# 995




                                                                                            7 Sent
                  Local   User   <IPhone     A2172>                           9/6/2021 8:35:09 AM
                  Lmk when you get inside




                                                                                            7 Sent
                  Moyer.) MOLY) mee td ile)(-w Vs                             9/6/2021 9:51:19 AM
                  Home




                                                                            ¥ Received
                                                                  9/6/2021 2:28:05 PM

    good morning




                                                                            ¥ Received
                                                                  9/6/2021 3:14:23 PM

    i’m so sore




                                                                                            7 Sent
                  Local   User   <IPhone     A2172>                           9/6/2021 8:10:37 PM
                  Lol how you feeling @@




                                                                            ¥ Received


    it hurts so bad




                                                                            ¥ Received


    my mom was like weren’t you going out and i said he’s in austin and then she
    was like your friends are flaky when you did come i just can’t tell her III




                                                    00000511                              GX810-000018
Case 1:23-cr-00172-MSN Document 95-3 Filed 05/09/24 Page 12 of 57 PageID# 996




               |oyor.) MO y-) eo i dale)(-   Ve    eo                          9/6/2021 8:34:20 PM
               Lol little does she know you went out last night




                                                                             ¥ Received


    yeah exactly but i’m sitting weird cause it hurts so bad




                                                                                             7 Sent
               |oyor.) MO y-) eo i dale)(-   Ve    eo                          9/6/2021 8:36:11 PM
               Oop @



                                                                             ¥ Received
                                                                  9/6/2021   8:37:03   PM




                                                                                             7 Sent
               Local User <IPhone            A2172>                            9/6/2021 8:37:26 PM
               My bad




                                                                                             7 Sent
               Local    User   <IPhone       A2172>                            9/6/2021 8:37:28 PM




                                                                             ¥ Received
   ae                                                             5/6/2021 8:39:28 PM
    it was good wdym    my bad




                                                                                             7 Sent
               Local User <IPhone            A2172>                            9/6/2021 8:38:49 PM
               Lol that you’re sore




                                                  00000512                                  GX810-000019
Case 1:23-cr-00172-MSN Document 95-3 Filed 05/09/24 Page 13 of 57 PageID# 997




                                                                               ¥ Received

   a                                                                 5/6/2021 8:39:24 PM
    i mean   i kinda figured it was going to




                                                                               ¥ Received


    JASON




                                                                               ¥ Received
                                                                    9/6/2021 11:35:44 PM

    YOU   BRUISED     MY NECK




                                                                                              7 Sent
                Local User <IPhone             A2172>                           9/6/2021 11:35:53 PM
                Me) A at-1e




                                                                                              7 Sent
                Local User <IPhone             A2172>                           9/6/2021 11:35:58 PM
                How




                                                                               ¥ Received
                                                                    9/6/2021 11:36:27 PM

    don’t ask me i just went to the bathrrom and i was looking and it’s all bruised
    and there’s a scratch lol




                                                                                              7 Sent
                |MoYor.) MOLY) et i dale)(- ees                                 9/6/2021 11:36:46 PM
                Shit @




                                                 00000513                                    GX810-000020
Case 1:23-cr-00172-MSN Document 95-3 Filed 05/09/24 Page 14 of 57 PageID# 998




                                                                                                           7 Sent
                  Local User           <IPhone          A2172>                              9/6/2021 11:36:56 PM
                  MEWel =m ugelaaMinl-Mele-]0)0)/
                                                ale {ele] mm al-101.4




                                                                                           ¥ Received
                                                                               9/6/2021   11:37:10   PM

    well yeah i figured since you didn’t wanna                  kiss my neck




                                                                                                           7 Sent
                  Local User           <IPhone          A2172>                              9/6/2021 11:51:46 PM
                  Lol I didn’t wanna get you in trouble dummy




                                                                                           ¥ Received


    i told you you wouldn’t have or you could’ve left them on my tits or inner thighs




                                                                                                           7 Sent
                  Local User           <IPhone          A2172>                               9/7/2021 1:19:52 AM
                  Oh yeah




                                                                                                           7 Sent
                  Local User           <IPhone          A2172>                               9/7/2021 1:20:02 AM
                  I could have




                                                                                           ¥ Received
   ee                                                                           9/7/2021 1:20:22 AM
    exactly lol




                                                                                                           7 Sent
                  Local User           <IPhone          A2172>                               9/7/2021 1:29:27 AM




                                                             00000514                                     GX810-000021
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    make that maybe into a yes




                                                                                          7 Sent
               Meyer.) MULY-) met td ale)11-6 Vs                             9/7/2021 6:45:06 PM
              I'll have to see




                                                                           ¥ Received
                                                                 9/7/2021 6:45:18 PM

    yeah ik




                                                                                          7 Sent
               Meyer.) MULY-) met td ale)(-W Ve                              9/7/2021 8:35:44 PM
               How’s school




                                                                           ¥ Received
   ee                                                            9/7/2021 8:55:33 PM
    boring asf but i’m going with my sister and friends after




                                                                                          7 Sent
               Meyer.) MULY-) met td ale)1 (-W Vs                           9/7/2021 10:38:16 PM
               Bet she’s gonna wanna          know more




                                                                           ¥ Received
   ee                                                           9/7/2021 10:38:31 PM
    wdym




                                                                                          7 Sent
               Meyer.) MULY-) met td ale))(-W Vs                            9/7/2021 10:38:55 PM
              y\ ofe)Uh am dat-]eamal(e)ale




                                                   00000520                              GX810-000022
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                                                                                  ¥ Received
    ee                                                                 9/7/2021 10:39:07 PM
    i told her everything




                                                                                                7 Sent
               |Moyer.) MO l-y-) et i dale)1 \-W We ws                            9/7/2021 10:39:50 PM
               @®



                                                                                                7 Sent
               Local User <IPhone           A2172>                                9/7/2021 10:40:09 PM
               What exactly did u tell her QQ




                                                                                  ¥ Received


    i didn’t tell her in detail i said we fucked and how good it was lol




                                                                                                7 Sent
               |MoYor.) MOLY) et i dale)(- ees                                    9/7/2021 10:40:48 PM
               o} am (e)




                                                                                                7 Sent
               Moyer.) MOLY) eat -)ile)(-w- Uh                                    9/7/2021 10:41:22 PM
               And what did she say




                                                                                  ¥ Received
    ee                                                                 9/7/2021 10:41:55 PM
    she was like how was mine first bad but mine and our friends good and how
    happy she was and stuff




                                                 00000521                                      GX810-000023
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                                                                                              7 Sent
               Local User       <IPhone     A2172>                              9/7/2021 11:08:24 PM
               Lol ofc we’re like bestfriends




                                                                                              7 Sent
               Local User       <IPhone     A2172>                              9/7/2021 11:08:39 PM
               Idk I’m just nervous about your sister knowing




                                                                                ¥ Received




                                                                                              7 Sent
               Local User       <IPhone     A2172>                              9/7/2021 11:09:07 PM
               Toye   (6 [=F]




                                                                                ¥ Received
    ee                                                               9/7/2021 11:10:02 PM
    i told her you’re 17 cause if i told her your actual age she’d be mad




                                                                                              7 Sent
               Local User       <IPhone     A2172>                              9/7/2021 11:28:41 PM
               Oop @



                                                                                              7 Sent
               Royer.) MULY-) etd ile)(-w Vs                                    9/7/2021 11:28:44 PM
               Good thing




                                                                                ¥ Received




                                                00000524                                     GX810-000024
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    yeah aren’t you 20




                                                                                                  7 Sent
                Local User <IPhone           A2172>                                 9/7/2021 11:32:57 PM
                Yes ma’am




                                                                                                  7 Sent
                |oyor.) MOY-) ee i dale)(-   Ve    ee                               9/7/2021 11:33:12 PM
                My birthday was just last week dont     u remember   @




                                                                                    ¥ Received
                                                                         9/7/2021 11:35:18 PM

    ik that but i couldn’t remember if you were turning 19 or 20




                                                                                    ¥ Received


    but i was still right




                                                                                                  7 Sent
                Local User <IPhone           A2172>                                 9/7/2021 11:38:33 PM
                Yeah yeah




                                                                                    ¥ Received




                                                                                                  7 Sent
                Local User <IPhone           A2172>                                 9/7/2021 11:39:48 PM
                I will




                                                  00000525                                       GX810-000025
Case 1:23-cr-00172-MSN Document 95-3 Filed 05/09/24 Page 19 of 57 PageID# 1003




    now i’m almost home




                                                                           ¥ Received
                                                              9/14/2021   10:47:41 PM




                                                                                           7 Sent
               Moyer.) MO ly-) me   i dale)(- Ve     es                    9/14/2021 11:09:06 PM
               Loved an image




                                                                           ¥ Received


    see i’m smart lol




                                                                           ¥ Received
                                                              9/15/2021   12:02:44 AM

    daddy i’m wet




                                                                                           7 Sent
               Moyer.) MOLY) eat -)ile)(-w- Uh                             9/15/2021 12:23:26 AM
               Fuck im out rn baby




                                                                           ¥ Received



    umm   it says i’m 7 days late




                                                                                           7 Sent
               Moyer.) MOLY) eat -)ile)(-w- Uh                             9/15/2021 12:24:25 AM
               What




                                                   00000610                              GX810-000026
Case 1:23-cr-00172-MSN Document 95-3 Filed 05/09/24 Page 20 of 57 PageID# 1004




                                                                             ¥ Received
                                                                9/15/2021   12:24:30 AM

    yeah




                                                                                             7 Sent
               Local User <IPhone            A2172>                          9/15/2021 12:24:35 AM
               What says




                                                                             ¥ Received

   a                                                            9/15/2021 12:24:55 AM
    my app that keeps track of my period




                                                                                             7 Sent
               Local User <IPhone            A2172>                          9/15/2021 12:25:16 AM
               what




                                                                             ¥ Received


    you didn’t finish in me though




                                                                                             7 Sent
               Local User <IPhone            A2172>                          9/15/2021 12:25:34 AM
               foe    Mel (elame




                                                                                             7 Sent
               |eyor-) MO y-) ei     Jale) 1-6   e ees                       9/15/2021 12:26:36 AM
               I thought you said it was supposed to happen this weekend




                                                                             ¥ Received




                                                 00000611                                  GX810-000027
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    nvm my dumbass read it wrong it says 7 days left Imao my bad




                                                                                           7 Sent
               Local User <IPhone           A2172>                         9/15/2021 12:27:35 AM
               YO




                                                                                           7 Sent
               |oyor.) MOY-) ee i dale)(-     Ve    ee                     9/15/2021 12:27:51 AM
               do not scare me like that @)




                                                                           ¥ Received
                                                              9/15/2021   12:27:55 AM

    i got so scared for a second




                                                                           ¥ Received
                                                              9/15/2021   12:28:02 AM

    don’t scare you i scared myself




                                                                           ¥ Received
                                                              9/15/2021   12:28:07 AM

    my parents would kill me




                                                                           ¥ Received
                                                              9/15/2021   12:28:13 AM

    and i’d have to have the baby




                                                                                           7 Sent
               Local User <IPhone           A2172>                         9/15/2021 12:28:35 AM
               Don’t even go there @8




                                                   00000612                              GX810-000028
Case 1:23-cr-00172-MSN Document 95-3 Filed 05/09/24 Page 22 of 57 PageID# 1006




    how far




                                                                                       7 Sent
              Meyer.) MULY-) met td ale)11-6 Vs                         9/25/2021 9:00:45 AM
              I'll let   u Know when   im close




                                                                        ¥ Received
                                                             9/25/2021 9:00:52 AM

    fine




                                                                                       7 Sent
              Meyer.) MULY-) met td ale)(-W Ve                          9/25/2021 9:01:08 AM
              Fight me




                                                                        ¥ Received
                                                             9/25/2021 9:01:15 AM

    i will




                                                                                       7 Sent
              Meyer.) MULY-) met td ale))(-W Vs                         9/25/2021 9:19:37 AM
              10 mins




                                                                        ¥ Received

    a                                                        5/25/2021 9:19:53 AM
    okay Imk like when your 5 minutes




                                                                                       7 Sent
              Meyer.) MULY-) met td ale))(-W Vs                         9/25/2021 9:28:00 AM
              Almost here




                                                  00000737                           GX810-000029
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                                                                             7 Sent
                Local User <IPhone   A2172>                   9/25/2021 9:28:10 AM
                U can come   out




                                                              ¥ Received
                                                   9/25/2021 9:28:14 AM

    i’m going out now




                                                              ¥ Received

    ee                                             9/25/2021 9:30:01 AM
    hurry up it’s cold




                                                                             7 Sent
                Local User <IPhone   A2172>                   9/25/2021 9:33:44 AM
                Here




                                                              ¥ Received


    back up




                                                              ¥ Received
    S|                                             9/25/2021 9:34:30 AM
    damn




                                                              ¥ Received


    i’m in my room




                                       00000738                            GX810-000030
Case 1:23-cr-00172-MSN Document 95-3 Filed 05/09/24 Page 24 of 57 PageID# 1008



                                                                                       7 Sent
               Moyer.) MULY-) eat) ile)(-w- eh                         9/25/2021 11:35:30 AM
               Me) Bilat-\iNg




                                                                        ¥ Received
    ee                                                      9/25/2021 11:35:47 AM
    i was so scared




                                                                                       7 Sent
               Moyer.) MULY-) eat) ile)(- 6 eh                         9/25/2021 11:38:17 AM
               Me too lol




                                                                        ¥ Received
    ee                                                      9/25/2021 11:38:34 AM
    my moms up too




                                                                        ¥ Received


    i didn’t even get to put my ice cream up :(




                                                                                       7 Sent
               Moyer.) MO k-y-) et i dale)(- s                         9/25/2021 11:39:45 AM
               Its ok at least you didn’t get caught




                                                                                       7 Sent
               Moyer.) MULY-) ead ile)(-w eh                           9/25/2021 11:40:04 AM
               Eat all of it rn




                                                                        ¥ Received


    i’m gonna sleep and just put it up when i wake up




                                                 00000739                            GX810-000031
Case 1:23-cr-00172-MSN Document 95-3 Filed 05/09/24 Page 25 of 57 PageID# 1009




                                                                          ¥ Received


    cause i can’t be up rn or my parents will be suspicious




                                                                                         7 Sent
               Moyer.) MOLY) et i Jaleo)(- Ve     es                     9/25/2021 11:41:04 AM
               Okk




                                                                                         7 Sent
               Moyer.) MOLY) ead ile) (-w- Uh                            9/25/2021 11:41:10 AM
               Hide the ice cream




                                                                          ¥ Received


    i did dummy




                                                                                         7 Sent
               Moyer.) MOLY) eat) ile) 1-6 Uh                            9/25/2021 11:41:27 AM
               U dummy




                                                                          ¥ Received
    ee                                                        9/25/2023 11:41:32 AM
    am   not




                                                                                         7 Sent
               Moyer.) MOLY) eat) ile)(-w- Ve                            9/25/2021 11:41:40 AM
               “Let’s get ice cream “




                                                00000740                               GX810-000032
Case 1:23-cr-00172-MSN Document 95-3 Filed 05/09/24 Page 26 of 57 PageID# 1010




                                                                         ¥ Received


    my bad i wanted ice cream




                                                                         ¥ Received
                                                           9/25/2021   11:42:03 AM

    at least i made    it back without getting caught




                                                                                        7 Sent
               Local User <IPhone            A2172>                     9/25/2021 11:49:53 AM
               Lol yes thank god




                                                                         ¥ Received


    good morning




                                                                         ¥ Received


    you left the hickey right in the middle of my neck




                                                                                        7 Sent
               Moyer.) MO ky-) ei    dale) 1-6 Ve es                     9/25/2021 8:00:45 PM
               |e) |




                                                                                        7 Sent
               Local User <IPhone            A2172>                      9/25/2021 8:00:50 PM
               Did anyone ask yet




                                                                       ¥ Received
                                                            9/25/2021 8:01:23 PM




                                                00000741                              GX810-000033
Case 1:23-cr-00172-MSN Document 95-3 Filed 05/09/24 Page 27 of 57 PageID# 1011




    no i have to put my hoodie a certain way so it’s not noticeable




                                                                                                  7 Sent
               Moyer.) MULY-) ea -dile)(-w-    Uh                                  9/25/2021 8:01:29 PM
               ee



                                                                                                  7 Sent
               Local User <IPhone             A2172>                               9/25/2021 8:01:37 PM
               I just woke up btw




                                                                                  ¥ Received


    yeah i figured you did




                                                                                  ¥ Received
                                                                      9/25/2021   8:01:59   PM

    and how am i supposed to cover it up on monday




                                                                                  ¥ Received


    cause nothing covers it




                                                                                                  7 Sent
               Local User <IPhone             A2172>                               9/25/2021 8:02:36 PM
               Show   me how does it look




                                                                                 ¥ Received
                                                                      9/25/2021 8:02:50 PM

    okay




                                                    00000742                                     GX810-000034
Case 1:23-cr-00172-MSN Document 95-3 Filed 05/09/24 Page 28 of 57 PageID# 1012




                                                                                            7 Sent
              Local User           <IPhone        A2172>                     9/25/2021 8:03:41 PM
              Wow




                                                                                            7 Sent
              Moyer.) MO LY-) ei       dale) 1-6 es                          9/25/2021 8:03:46 PM
              (efefole| [lean ="




                                                                             ¥¢ Received


    oh wow thanks




                                                                                            7 Sent
              |oYor.)     Oy-)     ee i dale)(-   Ve    ee                   9/25/2021 8:05:39 PM
              Loved “oh wow         thanks”




                                                                                            7 Sent
              Moyer.) MO ly-) ee i Jato)(- we           ee                   9/25/2021 8:05:44 PM

              ie)



                                                                                            7 Sent
              Moyer.) MO lY-) ei Jale) 1-6 es                                9/25/2021 8:06:10 PM
              How u     feeling




                                                                             ¥ Received

    ae                                                            5/25/2021 8:06:15 PM
    next time no hickeys on the middle of my neck got it @




                                                       00000743                            GX810-000035
Case 1:23-cr-00172-MSN Document 95-3 Filed 05/09/24 Page 29 of 57 PageID# 1013




               |oyor.) MOY-) ee i dale)(-    Ve    ee                              9/25/2021 8:06:27 PM
               No promises




                                                                                   ¥ Received


    it’s a little hard to walk other than that i’m great




                                                                                                  7 Sent
               |oyor.) MOY-) ee i dale)(-    Ve    ee                              9/25/2021 8:06:34 PM
               Laughed at “it’s a little hard to walk other than that i’m great”




                                                                                   ¥ Received


    yes promises




                                                                                                  7 Sent
               |oyor.) MO Y-) eo i dale)(-   Ve    eo                              9/25/2021 8:06:55 PM
               Nopee




                                                                                                  7 Sent
               Local User <IPhone            A2172>                                9/25/2021 8:07:14 PM
               Loved fucking your brains out last night




                                                                                   ¥¢ Received


    yeah daddy it was great




                                                                                                  7 Sent
               Local User <IPhone            A2172>                                9/25/2021 8:10:17 PM
               Especially when   i was pounding u    so hard I felt your legs shaking




                                                  00000744                                       GX810-000036
Case 1:23-cr-00172-MSN Document 95-3 Filed 05/09/24 Page 30 of 57 PageID# 1014




                                                                                      ¥ Received


    mmm     fuck i’m getting wet thinking about it




                                                                                                    7 Sent
                |oyor-) MO Y-) me   i dale)(-   Ve    ee                              9/25/2021 8:11:57 PM
                Or when   I had my mouth and fingers on you at the same time




                                                                                      ¥ Received


    omg yes that    felt amazing




                                                                                                    7 Sent
                |oyor-) MO Y-) me   i dale)(-   Ve    ee                              9/25/2021 8:13:01 PM
                or when i kissed u while fucking u and made u moan          in my mouth




                                                                                      ¥ Received
    ee                                                                     9/25/2021 8:13:39 PM
    fuckk daddy yeah come do it again




                                                                                                    7 Sent
                |oyor-) MO Y-) me   i dale)(-   Ve    ee                              9/25/2021 8:14:04 PM
                u liked getting fucked like daddy’s little slut didn’t u




                                                                                      ¥ Received
   po                                                                      9/25/2021 8:14:25 PM
    ofc i did




                                                     00000745                                      GX810-000037
Case 1:23-cr-00172-MSN Document 95-3 Filed 05/09/24 Page 31 of 57 PageID# 1015



                                                                                          7 Sent
               Moyer.) MOLY) eat) ile) (-w- Uh                              9/25/2021 8:15:05 PM
               u loved getting spanked and choked while getting pounded like daddy’s cumslut




                                                                            ¥ Received
                                                                 9/25/2021 8:15:45 PM

    yeah daddy i loved it all




                                                                                          7 Sent
               Moyer.) BUY) ea dale)(- 6 Uh                                 9/25/2021 8:16:41 PM
               wyd




                                                                            ¥ Received
                                                                 9/25/2021 8:16:57 PM

    laying in bed wbu




                                                                                          7 Sent
               Moyer.) MOLY) eat) ile) 1-6 Uh                               9/25/2021 8:17:12 PM
               same




                                                                                          7 Sent
               |oYor.) MO ly-) me   i Jalen(- Ve     es                     9/25/2021 8:17:26 PM
               Im getting so hard thinking about u




                                                                            ¥ Received


    and i’m wet lol




                                                                                          7 Sent
               |oYor.) MO ly-) me   i Jalen(- Ve     es                     9/25/2021 8:17:45 PM
               late) ey)




                                                   00000746                              GX810-000038
Case 1:23-cr-00172-MSN Document 95-3 Filed 05/09/24 Page 32 of 57 PageID# 1016




                                                                                ¥ Received


    imma take a       little nap till 11




                                                                                              7 Sent
                  Moyer.) MOLY) eed ile) (- WV                              10/23/2021 2:24:11 AM
                  Haha okay




                                                                                              7 Sent
                  Local      User     <IPhone      A2172>                   10/23/2021 2:24:27 AM
                  I'll let   u Know   when   im about to leave




                                                                                ¥ Received


    okay also imma wear the underwear you like the most




                                                                                ¥ Received


    they asleep




                                                                                              7 Sent
                  Moyer.) MOLY) eat) ile) 1-6 Uh                            10/23/2021 4:05:22 AM
                  Loved “okay also imma wear the underwear you like the most”




                                                                                              7 Sent
                  Moyer.) MOY)        et i Jaleo)(- Ve     es               10/23/2021 4:05:27 AM
                  That’s great haha




                                                         00000972                            GX810-000039
Case 1:23-cr-00172-MSN Document 95-3 Filed 05/09/24 Page 33 of 57 PageID# 1017



                                                                                       7 Sent
               Moyer.) MULY-) eat) ile)(-w- eh                         10/23/2021 4:05:35 AM
              I’m about to leave




                                                                                       7 Sent
               Local User <IPhone          A2172>                      10/23/2021 4:19:09 AM
              Omw




                                                                                       7 Sent
               Moyer.) MULY-) eat) ile)(- 6 eh                         10/23/2021 5:25:11 AM
               10 mins




                                                                        ¥ Received
    ee                                                      10/23/2021 5:25:23 AM
    okay tell me when you i’m there neighborhood




                                                                                       7 Sent
               Moyer.) MULY-) ead ile)(-w eh                           10/23/2021 5:30:41 AM
              Its        right?




                                                                        ¥ Received
                                                            10/23/2021 5:30:51 AM

    yeah should i go outaide




                                                                                       7 Sent
               Moyer.) MULY-) ead ile)(-w eh                           10/23/2021 5:31:12 AM
              I'll lyk when   im outside




                                                                        ¥ Received
                                                            10/23/2021 5:31:23 AM

    okay




                                                 00000973                            GX810-000040
Case 1:23-cr-00172-MSN Document 95-3 Filed 05/09/24 Page 34 of 57 PageID# 1018




                                                                          7 Sent
              Moyer.) BUY) eat -dile)(-w Uh               10/23/2021 5:37:41 AM
              Here




                                                          ¥ Received



    coming




                                                                          7 Sent
              Royer.) MOLY) eat) ile)(-w- Uh              10/23/2021 7:52:21 AM
              (Cfo) alae).   <- arg




                                                          ¥ Received



    yeah but the front door was open when i got here




                                                                          7 Sent
              Moyer.) MOLY) eat) ile) 1-6 Uh              10/23/2021 7:53:07 AM
              Maybe you left it open




                                                          ¥ Received



    i did




                                                          ¥ Received


    whoops




                                               00000974                 GX810-000041
Case 1:23-cr-00172-MSN Document 95-3 Filed 05/09/24 Page 35 of 57 PageID# 1019




                                                                                            7 Sent
                Meyer.) MULY-) met td ale)11-9 W a                          10/23/2021 7:53:29 AM
                Lmaoo dummy




                                                                            ¥ Received


    i swear i shut it




                                                                                            7 Sent
                Meyer.) MULY-) et dd ale))(-W We                            10/23/2021 7:54:27 AM
                Well everyone’s asleep right?




                                                                            ¥ Received
                                                                10/23/2021 7:54:34 AM

    yeah




                                                                                            7 Sent
                Meyer.) MULY-) met td ale)(-W Vs                            10/23/2021 7:54:59 AM
               Then it was probably you




                                                                            ¥ Received


    yeah also i found a way to cover them




                                                                                            7 Sent
                Meyer.) MULY-) met td ale))(-W Vs                           10/23/2021 8:13:51 AM
                How     so




                                                                            ¥ Received
                                                                10/23/2021 8:14:07 AM




                                                     00000975                             GX810-000042
Case 1:23-cr-00172-MSN Document 95-3 Filed 05/09/24 Page 36 of 57 PageID# 1020




    foundation and eyeshadow




                                                                                          7 Sent
               Local User <IPhone          A2172>                         10/23/2021 8:14:41 AM
               Lol try it and Imk if it works @




                                                                          ¥ Received


    it does work




                                                                                          7 Sent
               Local User <IPhone          A2172>                         10/23/2021 8:15:03 AM
               Wl at-)cMeleolelomagt=1p)




                                                                          ¥ Received
                                                             10/23/2021   8:15:10 AM




                                                                          ¥ Received
                                                             10/23/2021   1:01:30 PM

    good morning




                                                                          ¥ Received
                                                             10/23/2021   4:12:41   PM




                                                      —

                                                  00000976                               GX810-000043
Case 1:23-cr-00172-MSN Document 95-3 Filed 05/09/24 Page 37 of 57 PageID# 1021




                                                                              ¥ Received



    my legs almost gave out on me running and it hurts to sit down lol




                                                                                              7 Sent
                Local User <IPhone      A2172>                                10/23/2021 4:25:41 PM
                I wonder why @




                                                                              ¥ Received
                                                                 10/23/2021   4:26:36   PM

    also the makeup only covered the one hickey idk how imma cover the other for
    the dance




                                                                              ¥ Received


    did you even watch the video




                                                                                              7 Sent
                Local User <IPhone      A2172>                                10/23/2021 8:00:19 PM
                Me) Ms l(olnwe




                                                                                              7 Sent
                Local User <IPhone      A2172>                                10/23/2021 8:00:32 PM
                Been so busy today




                                                                              ¥ Received
                                                                 10/23/2021 8:01:38 PM

    with what




                                            00000979                                         GX810-000046
Case 1:23-cr-00172-MSN Document 95-3 Filed 05/09/24 Page 38 of 57 PageID# 1022




                                                                                                 7 Sent
               Moyer.) MULY-) ead) ile)(- WV                                      10/24/2021 8:11:08 PM
               nicee




                                                                                   ¢ Received
                                                                       10/24/2021 8:11:51 PM

    wyd




                                                                                                 7 Sent
               Moyer.) MULY-) eat) ile) (- WV                                     10/24/2021 8:13:20 PM
               Driving back to dallas lol




                                                                                   ¢ Received


    my legs won’t stop shaking




                                                                                                 7 Sent
               Moyer.) MULY-) eat) ile) (- WV                                     10/24/2021 8:19:48 PM
               Haha I wonder why




                                                                                   ¢ Received


    i’m literally sitting on the stairs cause i can’t walk down them




                                                                                                 7 Sent
               Moyer.) MULY-) ai) ile)(-w- Vk                                     10/24/2021 8:20:49 PM
               ee)Ge)




                                                00000985                                        GX810-000047
Case 1:23-cr-00172-MSN Document 95-3 Filed 05/09/24 Page 39 of 57 PageID# 1023



                                                                                                7 Sent
               Local User <IPhone          A2172>                               10/24/2021 8:20:56 PM
               Oops




                                                                                 ¥¢ Received


    why are they shaking so much     usually they don’t shake for this long




                                                                                                7 Sent
               Local User <IPhone          A2172>                               10/24/2021 8:21:57 PM
               Because I fucked your brains out




                                                                                                7 Sent
               Local      User   <IPhone   A2172>                               10/24/2021 8:22:01 PM
               )



                                                                                 ¥ Received
                                                                     10/24/2021 8:22:18 PM

    they weren’t shaking earlier




                                                                                                7 Sent
               Moyer.) MULY-) aide) (- ww                                       10/24/2021 8:22:33 PM
               lol idkk




                                                                                 ¥ Received
                                                                     10/24/2021 8:22:44 PM

    i wanna get food but i can’t




                                                                                                7 Sent
               Moyer.) MULY-) aide) (- ww                                       10/24/2021 8:22:56 PM
               Is it that bad




                                              00000986                                         GX810-000048
Case 1:23-cr-00172-MSN Document 95-3 Filed 05/09/24 Page 40 of 57 PageID# 1024




                                                                               ¥ Received
                                                                  12/3/2021   11:28:01   PM

    same if only we were closer we could hang out every day




                                                                                               7 Sent
                     Local User <IPhone         A2172>                         12/3/2021 11:57:05 PM
                 right?? Like i miss fucking ur brains outt




                                                                               ¥ Received


    i got wet just from reading that wtf @




                                                                                               7 Sent
                     Local User <IPhone         A2172>                         12/3/2021 11:58:07 PM
                 Haha fuck i miss seeing it®




                                                                               ¥ Received
    Po                                                            12/3/2021 11:59:45 PM
    seeing what




                                                                               ¥ Received


    you   Can just     watc     e video




                                                                                               7 Sent
                     Local    User   <IPhone    A2172>                         12/4/2021 12:00:01 AM
                 Your tight pussy




                                                                                               7 Sent
                     Moyer.) MULY-) etd ale) n(-w ve                           12/4/2021 12:00:08 AM




                                                       00001139                               GX810-000049
Case 1:23-cr-00172-MSN Document 95-3 Filed 05/09/24 Page 41 of 57 PageID# 1025




             Yess I can




                                                              ¥ Received


    mmm




                                                              ¥ Received


    hey




                                                                             7 Sent
             Local User <IPhone   A2172>                      12/5/2021 1:45:03 AM
             hii




                                                              ¥ Received




                                                                             7 Sent
             Local User <IPhone   A2172>                      12/5/2021 1:48:52 AM
             Watching tv wny




                                                                             7 Sent
             Local User <IPhone   A2172>                      12/5/2021 1:48:54 AM
             Wby




                                                              ¥ Received
    ae                                             12/5/2021 1:48:59 AM
    eating




                                    00001140                               GX810-000050
Case 1:23-cr-00172-MSN Document 95-3 Filed 05/09/24 Page 42 of 57 PageID# 1026




                                                                          ¥ Received


    omg yes




                                                                          ¥ Received


    i’m so wet daddy




                                                                          ¥ Received


    can you send me the video of you pounding    my pussy




                                                                                          7 Sent
              Local User <IPhone           A2172>                        12/16/2021 11:32:32 PM
              Mmm      fuck i want you




                                                                                          7 Sent
              Local User <IPhone           A2172>                        12/16/2021 11:32:41 PM
              Yea where do u want me to send it




                                                                          ¥ Received
                                                            12/16/2021   11:33:44   PM

    here so i can watch it over and over




                                                                          ¥ Received


    i miss your dick in me making    me scream




                                                                                          7 Sent
              Local User <IPhone           A2172>                        12/16/2021 11:34:06 PM




                                             00001153                                    GX810-000051
Case 1:23-cr-00172-MSN Document 95-3 Filed 05/09/24 Page 43 of 57 PageID# 1027




               Let me     send   it on insta




                                                                                          7 Sent
               Local User <IPhone              A2172>                    12/16/2021 11:34:18 PM
               Don’t want u to get in trouble




                                                                          ¥ Received


    im not




                                                                          ¥ Received


    and if i get my phone taken i'll delete




                                                                          ¥ Received


    please




                                                                                          7 Sent
               Local User <IPhone              A2172>                    12/16/2021 11:42:12 PM
               Too late




                                                                          ¥ Received
                                                            12/16/2021   11:42:24   PM




                                                                          ¥ Received
                                                            12/16/2021   11:46:19   PM

    fuckk




                                                 00001154                                GX810-000052
Case 1:23-cr-00172-MSN Document 95-3 Filed 05/09/24 Page 44 of 57 PageID# 1028




                                                                                ¥ Received


    i linda sound like a little girl when i scream and talk lol




                                                                                               7 Sent
               Local   User     <IPhone     A2172>                            12/17/2021 12:36:29 AM
               Haha i love that




                                                                                ¥¢ Received
    ee                                                             12/17/2021 12:37:07 AM
    really you sure we hearing the same thing




                                                                                               7 Sent
               Local   User     <IPhone     A2172>                            12/17/2021 12:43:14 AM
               Haha yeah




                                                                                ¥ Received


    what do i sound like to you




                                                                                               7 Sent
               Local   User     <IPhone     A2172>                            12/17/2021 12:44:12 AM
               It’s just when   u start moaning   makes me wanna go harder




                                                                                ¥¢ Received


    why don’t you




                                                                                ¥ Received




                                                  00001155                                    GX810-000053
Case 1:23-cr-00172-MSN Document 95-3 Filed 05/09/24 Page 45 of 57 PageID# 1029




                 Local        User            IPhone        A2172             1/8/2022 5:40:42 PM
                 T'll let    u know




                                                                            ¢ Received


    oh okay




                                                                                           7 Sent
                 Local        User            IPhone        A2172           1/8/2022 10:03:20 PM
                 =} - We ale)alm xo) al fe] al weg




                                                                            ¢ Received


    what time?




                                                                                           7 Sent
                 Local        User            IPhone        A2172           1/8/2022 10:03:43 PM
                 What time can              u sneak   out




                                                                                           7 Sent

                 |oyor-| OLY) ae A 2d 10)|- ed                              1/8/2022 10:03:47 PM
                 Or sneak me in @&)




                                                                            ¢v Received


    jason i can’t sneak you in




                                                                            ¢ Received


    but i can sneak out whenever everyone is asleep and idk what time that'll be
Case 1:23-cr-00172-MSN Document 95-3 Filed 05/09/24 Page 46 of 57 PageID# 1030




                                                                                                7 Sent

                  Local   User <IPhone            A2172>                          1/8/2022 10:04:28 PM
                  But it would be so much fun @




                                                                                 ¢ Received


    ik it would   be but i can’t




                                                                                                7 Sent

                  Local   User <IPhone            A2172>                          1/8/2022 10:04:48 PM
                  Okay I'll come whenever everyone’s asleep.. as long as u don’t fall asleep




                                                                                 ¢ Received


    ill try not to




                                                                                 ¢ Received



    i don’t think i will tonight though i slept good




                                                                                                7 Sent
                  Local   User <IPhone            A2172>                          1/8/2022 10:05:16 PM
                  I think u should    def sneak      me   in




                                                                                                7 Sent

                  Local   User <IPhone            A2172>                          1/8/2022 10:05:26 PM
                  Im still mad     at u about that
Case 1:23-cr-00172-MSN Document 95-3 Filed 05/09/24 Page 47 of 57 PageID# 1031



                                                                                 ¢ Received


    im sorry i tried to my eyes weren’t wit it though lol




                                                                                 ¢ Received



    i would if i could if my room was downstairs so i could just bring you in the
    window




                                                                                                7 Sent

                |ofor-) MU L-y-) at   8 alo)1-0    Ws i                           1/8/2022 10:22:03 PM
                Lol its okay I can climb




                                                                                 ¢v Received


    with what




                                                                                                7 Sent

                |ofor-) MU L-y-) at   8 alo)1-0    Ws i                           1/8/2022 10:23:05 PM
                Nom Ce [-t- I=)




                                                                                 ¢ Received



    exactly




                                                                                                7 Sent
                Local User        <IPhone         A2172>                          1/8/2022 10:23:20 PM
                Or just sneak me in the front door @




                                                                                 ¢ Received
                                                                     1/8/2022   10:23:40   PM
Case 1:23-cr-00172-MSN Document 95-3 Filed 05/09/24 Page 48 of 57 PageID# 1032




    i can’t do that cauee my parents can hear a certain stair when you step on it




                                                                                            7 Sent
                Local       User <IPhone          A2172>                      1/8/2022 10:24:08 PM
                Then u just tell me not to step on it




                                                                             ¢ Received



    idk which   one it is




                                                                                            7 Sent
                Local       User <IPhone          A2172>                      1/8/2022 10:26:49 PM
                Besides they gonna          be sleeping




                                                                             ¢ Received



    true but still don’t wanna         take that chance




                                                                             ¢ Received


    like i'm scared to sneak out again tbh lol




                                                                                            7 Sent

                |oyor-) Mm OL-y-) mt     2) ao) \- We                         1/8/2022 10:27:41 PM
                That’s why u should sneak someone          in




                                                                                            7 Sent
                Local       User <IPhone          A2172>                      1/8/2022 10:27:52 PM
                If they get suspicious i'll just hide@
Case 1:23-cr-00172-MSN Document 95-3 Filed 05/09/24 Page 49 of 57 PageID# 1033




                                                          ¢ Received


    you really wanna come inside that bad?




                                                                         7 Sent
                  Local   User    IPhone      A2172        1/8/2022 10:43:57 PM
                  Im just saying it would be better @




                                                          ¢ Received


    how   would   it be better




                                                                         7 Sent

                  Local   User <IPhone        A2172>       1/8/2022 10 45 15 PM
                  U don’t have to sneak   out lol




                                                          ¢ Received


    ik there’s another reason in your mind lol




                                                                         7 Sent

                  Local   User <IPhone        A2172>       1/8/2022 10 46 53 PM
                  Lmao what reason 6)




                                                          ¢ Received


    idk jason what reason
Case 1:23-cr-00172-MSN Document 95-3 Filed 05/09/24 Page 50 of 57 PageID# 1034




                  Local User      <IPhone           A2172>                      1/8/2022 10:49:22 PM
                  Idk u seem   to know     better




                                                                               ¥v Received



    but i want you to say it




                                                                                              7 Sent
                  Local User      <IPhone           A2172>                      1/8/2022 11:22:33 PM
                  Im just saying u won't get in trouble that way




                                                                               ¥v Received
                                                                   1/8/2022   11:23:00   PM

    no but ik you wanna come in for another reason too




                                                                               ¢ Received
                                                                   1/8/2022   11:23:07   PM

    so what's the real reason you wanna come in my room




                                                                                              7 Sent

                  Local User      <IPhone           A2172>                      1/8/2022 11:23:13 PM
                  Lol what   reason   is that?




                                                                               ¢ Received


    you tell me




                                                                               ¢ Received



    im curious to know
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                                                                                  7 Sent

                Local   User         IPhone   A2172                1/8/2022 11:24:02 PM
                Lol I already told u the reason




                                                                  ¢ Received


    okay then what's the other reason




                                                                                  7 Sent

                Local   User         IPhone   A2172                1/8/2022 11:24:38 PM
               There is no other reason@




                                                                  ¢ Received


    yes there is you keep laughing




                                                                  ¢v Received


    so just tell me




                                                                                  7 Sent

                Local   User <IPhone          A2172>                1/9/2022 1 03 11 AM
                Lol I can’t laugh?




                                                                  ¢v Received
                                                       1/9/2022   1 06   19 AM

    not unless you tell me the other reason
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                                                                                     7 Sent
               Local     User <IPhone          A2172>                1/9/2022    1:08:58 AM

               There’s   no other reason




                                                                                     7 Sent
               Local User <IPhone A2172>                             1/9/2022    1:09:07 AM

               Except that I wanna     hold you




                                                                   ¢ Received
                                                        1/9/2022   1:10:34 AM

    you can do that anywhere




                                                                                     7 Sent
               Local     User <IPhone          A2172>                1/9/2022    1:12:53 AM

               But your bed is comfy       ©




                                                                   ¢ Received
                                                        1/9/2022   1:13:05 AM

    true




                                                                                     7 Sent
               Local     User <IPhone          A2172>                1/9/2022    1:15:36 AM

               Yeaa




                                                                   ¢ Received
                                                        1/9/2022   1:15:52 AM

    so is you're backseat




                                                                   ¢v Received
                                                        1/9/2022   1:16:07 AM

    but if my bed would be better
Case 1:23-cr-00172-MSN Document 95-3 Filed 05/09/24 Page 53 of 57 PageID# 1037




                                                                                                  7 Sent
               Moyer.) MOLY) ead ile)(-W Vs                                         1/9/2022 7:49:10 AM
               To fuck your tight pussy till     u can’t cum anymore




                                                                                  ¥ Received
                                                                       1/9/2022   7:49:23 AM

    fuck i’m getting wet




                                                                                  ¥ Received
                                                                       1/9/2022 7:49:33 AM

    i want it inside me rn




                                                                                                  7 Sent
               Local User <IPhone               A2172>                              1/9/2022 7:49:46 AM
               So am     I




                                                                                                  7 Sent
               Moyer.) MOLY) eet) ile) (-W Vs                                       1/9/2022 7:49:53 AM
               Do*




                                                                                  ¥ Received


    huh




                                                                                                  7 Sent
               Moyer.) MOLY) eet) ile) (-W Vs                                       1/9/2022 7:50:19 AM
               I wanna       be inside you rn




                                                  00001262                                      GX810-000054
Case 1:23-cr-00172-MSN Document 95-3 Filed 05/09/24 Page 54 of 57 PageID# 1038



                                                                              7 Sent
               Moyer.) MULY-) eat) ile) (-w eh                  1/9/2022 7:50:42 AM
               I miss hearing         u moan so much




                                                               ¥ Received


    at least you have the video to watch




                                                               ¥ Received


    oh also did i tell you i got snap back




                                                                              7 Sent
               Local User <IPhone                 A2172>        1/9/2022 7:53:51 AM
               I don’t have the video anymore




                                                                              7 Sent
               Moyer.) MULY-) eat) ile)(-w Uh          eb       1/9/2022 7:53:55 AM
               IN TomU mel (olan




                                                               ¥ Received


    you deleted it?




                                                               ¥ Received


    whyyy




                                                                              7 Sent
               Moor.) MO ly-) me        i dale)1-6 Ve ps        1/9/2022 7:57:03 AM
               |e) I elo) ar- Mat) mm) ale) al=




                                                    00001263                GX810-000055
Case 1:23-cr-00172-MSN Document 95-3 Filed 05/09/24 Page 55 of 57 PageID# 1039




                                                                              7 Sent
               Moyer.) MO Y-) eo i dale)(-     Ve    ee         1/9/2022 7:57:09 AM
               We    can   make   new   ones




                                                               ¥ Received


    and it didn’t transfer over?




                                                                              7 Sent
               Moyer.) MO Y-) eo i dale)(-     Ve    ee         1/9/2022 7:57:39 AM
               No i lost a lot of pics and vids




                                                               ¥ Received


    important ones?




                                                                              7 Sent
               Moyer.) MO Y-) eo i dale)(-     Ve    ee         1/9/2022 7:59:11 AM
               Yea some




                                                                              7 Sent
               Local User <IPhone              A2172>           1/9/2022 7:59:18 AM
               Can   we    make   new   ones




                                                               ¥ Received


    yeah ofc




                                                    00001264                GX810-000056
Case 1:23-cr-00172-MSN Document 95-3 Filed 05/09/24 Page 56 of 57 PageID# 1040



                                                                                 ¥ Received
                                                                    12/14/2022   6:12:04 AM

    i’ve missed you




                                                                                                 7 Sent
                Local User <IPhone          A2172>                               12/14/2022 6:12:10 AM
                I miss you




                                                                                                 7 Sent
                Local    User     <IPhone   A2172>                               12/14/2022 6:12:12 AM
                Wyd




                                                                                 ¥ Received


    about to sleep wbu




                                                                                                 7 Sent
                Local    User     <IPhone   A2172>                               12/14/2022 6:12:33 AM
                I can’t sleep




                                                                                                 7 Sent
                Local User <IPhone          A2172>                               12/14/2022 6:13:02 AM
                I was just going thru my camera   roll and found that video of us




                                                                                 ¥ Received


    you still have it?




                                                                                                 7 Sent
                Local User <IPhone          A2172>                               12/14/2022 6:14:50 AM
                apparently i di




                                              00001434                                         GX810-000059
Case 1:23-cr-00172-MSN Document 95-3 Filed 05/09/24 Page 57 of 57 PageID# 1041




                                                                                                   7 Sent
               Moyer.) MOLY) me          i Jaleo)(-   Ve    ps                     12/14/2022 6:15:46 AM
               we      need   to make     better ones




                                                                                   ¥ Received


    you'll have to wait and see ©




                                                                                   ¥ Received
                                                                      12/14/2022   6:17:02 AM

    Loved “we need to make better ones ”




                                                                                                   7 Sent
               Local User <IPhone                     A2172>                       12/14/2022 6:17:08 AM
               what      if I wanna     see rn




                                                                                  ¥ Received
                                                                      12/14/2022 6:17:20 AM

    i wanna see the video first




                                                                                                   7 Sent
               Local User <IPhone                     A2172>                       12/14/2022 6:19:51 AM
               on]
               ‘OBJ!
               eal




                                                                                                   7 Sent
               Local User <IPhone                     A2172>                       12/14/2022 6:19:57 AM
               What do i get




                                                                                   ¥ Received
                                                                      12/14/2022   6:23:24 AM




                                                           00001436                              GX810-000060
